



















NO. 07-10-00519-CR AND 07-10-00520-CR

&nbsp;

IN THE COURT OF APPEALS

&nbsp;

FOR THE
SEVENTH DISTRICT OF TEXAS

&nbsp;

AT
AMARILLO

&nbsp;

PANEL A

&nbsp;



APRIL
27, 2011

&nbsp;



&nbsp;

THE STATE OF TEXAS, APPELLANT

&nbsp;

v.

&nbsp;

DAVID NEAL DUNCAN, APPELLEE 



&nbsp;



&nbsp;

&nbsp;FROM THE 251ST DISTRICT COURT OF RANDALL
COUNTY;

&nbsp;

NO. 20,170-C; HONORABLE DON R. EMERSON, JUDGE



&nbsp;



&nbsp;

Before CAMPBELL
and HANCOCK and PIRTLE, JJ.

&nbsp;

&nbsp;

ORDER ON ABATE AND REMAND

&nbsp;

Pending before us is the State’s
motion to abate the appeal and remand the matter back to the trial court so
that findings of fact and conclusions of law can be filed. &nbsp;The record reflects that the State timely
filed a request for findings of fact and conclusions of law. &nbsp;However, none were ever filed. &nbsp;In State v. Cullen, 195 S.W.3d 696, 699
(Tex.Crim.App. 2006), the Court of Criminal Appeals
held that, "[u]pon the request of the losing
party on a motion to suppress evidence, the trial court shall state its
essential findings." &nbsp;In Cullen,
the Court explained that the trial court's refusal to state its findings and
conclusions prevented the court of appeals from a meaningful review of the
decision to grant or deny the motion to suppress. &nbsp;Id. at 698.

Accordingly, we abate the appeal and
remand the matter back to the trial court. See Tex. R. App. P. 44.4. &nbsp;We
further direct the Honorable Don R. Emerson, sitting by assignment as judge of
the 251st Judicial District Court, Randall County, Texas, to execute findings
of fact and conclusions of law in this cause as required by Cullen. &nbsp;We also direct him to execute his findings and
conclusions and file them with the clerk of this court, via a supplemental
clerk's record, on or before May 27, 2011. &nbsp;Upon the filing of the supplemental clerk's
record containing the findings and conclusions, the appeal will be reinstated.

It is so ordered.

Per Curiam

&nbsp;

Do
not publish.








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